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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

   HYDRAFLOW INDUSTRIES LIMITED,

           Plaintiff,                                           Civil Action No.: 1:20-cv-03661
   v.
                                                                Judge Sharon Johnson Coleman
   THE PARTNERSHIPS AND UNINCORPORATED
   ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,                     Magistrate Judge Susan E. Cox

           Defendants.


                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

               NO.                                 DEFENDANT
               24                                Amazing Top Deals
               14                                    BewthU
                7                                Shop3667080 Store
               96                                     cnstore88
               186                                     yang-14
               98                                   eastauspicious
               75                                      Ancheer
               174                                   xufenfenhe
               339                                 MAGICSURVE
               80                                  Healthy_living
               123                                   racedigital
               65                                  Yxw104187786
                 4                    Henan Ocean Power Homewares Co., Ltd.
                42                                 HOLLEuu
                61                                 Lome1210
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DATED: August 24, 2020                      Respectfully submitted,

                                            /s/ Keith A. Vogt
                                            Keith A. Vogt (Bar No. 6207971)
                                            Keith Vogt, Ltd.
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                                            Chicago, Illinois 60604
                                            Telephone: 312-675-6079
                                            E-mail: keith@vogtip.com

                                            ATTORNEY FOR PLAINTIFF
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on August 24, 2020 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
